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    IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF
                        FLORIDA TAMPA DIVISION

  APRIL ADEMILUYI

                               Plaintiff
                          v.

 NATIONAL BAR ASSOCIATION
 DARYL PARKS and
 BENJAMIN CRUMP                                     Case No. 8:16-2597-T-30AEP

                       Defendants




   VOLUNTARY DISMISSAL OR IN THE ALTERNATIVE MOTION FOR LEAVE TO
                            DISMISS CASE

                                  BACKGROUND AND FACTS

        Parks, Crump, the NBA, and others conspired with former Assistant State’s Attorney and

 current Attorney General Pam Bondi, former State’s Attorney Mark Ober, and other law

 enforcement officials to corruptly cover up the drug rapes of myself and Jane Doe that began in

 Parks’ hotel suite. At the time of the drug rapes, Parks and Crump were receiving heightened

 national media attention for representing the family of Trayvon Martin, while Parks

 simultaneously served as President of the NBA. Jane Doe and I attended an NBA event Parks

 hosted in his hotel suite, where we were both drugged and later raped by other attendees/bar

 association members, Brown and Phillips, in different hotel rooms.


        Ober, Bondi, Parks, Crump and the NBA all stood to gain from covering up the drugs rapes

 of myself and Jane Doe that began in Parks’ hotel suite. Parks, Crump, and others conspired with

 Pam Bondi, Ober and other law enforcement officials to destroy the recorded confession of the

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 rape to silence me. Parks and Crump had to maliciously silence me because they feared liability

 and had to protect the reputation of the NBA and Trayvon Martin media campaign or its profitable

 legacy. Bondi was politically ambitious and has a pattern and practice of accepting campaign

 donations and other gifts in exchange for official acts from those who can help her rise politically.

 There has been national publicity surrounding Bondi’s accepting of bribes and calls from

 politicians and concerned citizens nationwide for the DOJ to investigate Bondi. Parks gave Bondi

 an urgent campaign donation to compensate for her assistance in influencing Ober to cover up the

 drug rapes of myself and Jane Doe. Thus Parks and his co-conspirators refuse answer any

 questions or be transparent about any communications or financial transactions, among

 themselves, Bondi, or Ober. Without the defendants’ cooperation, I can at least confirm and/or

 attempt to prove at the time of the alteration and destruction of the recorded confession of the rape,

 Parks making an urgent campaign donation to Bondi in exchange for her to influence Ober to alter

 and destroy the recording; and cell phone calls and text between Parks and Bondi.


        Over the last five years, this case that has been pending in multiple forums—federal and

 state courts and this case is simultaneously pending in two federal district courts. I fought hard to

 block the transfer of this proceeding to the Middle District of Florida because I feared that the

 defendants and their co-conspirators would corruptly influence the Judge as they did Mark Ober

 to cover up the drugs rapes.


                                          Judge Moody’s conduct.

        I argued before the District Judge in Maryland and the Fourth Circuit Court of Appeals that

 transferring this case would interfere with my ability to have a fair and impartial shot at justice and

 specifically argued concerns with finding a fair Judge. However, the panel on the Fourth Circuit

 misrepresented their conflicts in this case as well. Judge James Wynn is a long time active member

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 of the National Bar Association. Despite Judge Wynn’s misrepresentations, I thought perhaps I

 should hang in there because I might just get lucky to get an honest Judge in the Middle District

 of Florida, who will be fair.


        According to Judge Moody’s daughter’s campaign website, potential defendant, Pam

 Bondi encouraged Judge Moody’s daughter, Ashley Moody to replace her as Attorney General of

 Florida. According to a confidential witness with close personal ties to Judge Moody, Ashley

 Moody quit her job because Bondi promised Ashley Moody all the support (financial donors and

 manpower) she needed to win the Attorney General position. In exchange for Bondi’s support of

 his daughter, Bondi expects Judge Moody to shield her from any liability for accepting bribes and

 conspiring with Ober to cover up the drug rapes of myself and Jane Doe.


        Because Judge Moody is being corruptly influenced, he refuses to allow me to bring claims

 concerning the unlawful cover up of the drug rapes of me and Jane Doe and will only allow me to

 sue one defendant—Parks only for failing to warn me about the drug rapes that occur at NBA

 events. [ECF107]


        Taken directly from Ashley Moody’s campaign website,

        Bondi said she met Moody when the future judge was a teenager, having attended law
        school with her mother, Carol, at Stetson University College of Law. They have
        remained close throughout the years.
        Moody served as a circuit judge in Hillsborough for 10 years before abruptly resigning
        in April. Speculation swirled that her departure from the bench was in preparation for
        a higher office. After Moody resigned as a judge in April, Bondi said she encouraged
        her to run for attorney general. Last week, Moody filed to run for the office with the
        state Division of Elections. She is expected to officially announce her candidacy
        Tuesday. The other candidates are Republican State Representative Jay Fant of
        Jacksonville and Democrat Ryan Torrens of Tampa. "No one will outwork Ashley
        Moody in this race," Bondi said.




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 See     Ex1;     https://www.electashleymoody.com/single-post/2017/06/05/Pam-Bondi-to-back-

 Tampas-Ashley-Moody-to-succeed-her-as-attorney-general.           Pam Bondi’s support of Ashley

 Moody’s campaign is plastered all over the campaign website. See www.electashleymoody.com.


        Witness A, who has a close personal relationship with Judge Moody1 provided supporting

 evidence of Judge Moody’s bias towards me. Witness A stated that: “Jim would never go against

 Bondi because he really wants Ashley to win and Bondi could stop that. Ashley quit her job

 because Bondi promised her what she needed to win. Bondi gets what she wants out here. Pam

 Bondi is a witch. It does not matter to Jim who got raped or who did what. Jim’s got to look out

 for his daughter. Bondi does not have to talk to Jim about a case against her. Bondi would expect

 Jim to take care of her in return for what she is doing for his daughter. That’s how the good ole

 boys network in Tampa works.”


        If in fact Bondi purposely sought out Ashley Moody, the Judge’s daughter, to offer her

 support to run for Attorney General, because the Judge Moody is presiding over this case, then she

 is in violation of 18 U.S.C.A. § 1503(a), which states in pertinent part whoever

 “corruptly…endeavor[s] to influence, intimidate, or impede any…officer in or of any court of the

 United States...or corruptly…influences, obstructs…or impedes, or endeavors to influence,

 obstruct, or impede, the due administration of justice. The Ninth Circuit eloquently stated what

 this Court needs to hear:


        The obstruction of justice statute is an outgrowth of Congressional recognition of
        the variety of corrupt methods by which the proper administration of justice may
        be impeded or thwarted, a variety limited only by the imagination of the criminally
        inclined. The concept of ‘justice’ upon which the foundations of our society rest

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  To protect Witness A, I will only disclose their identity and other details to the appropriate
 impartial officials, if and only if, the Chief Judge of the Eleventh Circuit or other officials, orders
 an investigation of my ethics complaint against Judge Moody.
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        and which courts and judges are sworn to uphold encompasses not only the right of
        an accused to a fair trial, but it also calls for punishment if the accused is found
        guilty. This concept merely recognizes the inherent right of society to protect itself
        and its innocent members from vicious acts which imperil one of the most vital
        safeguards of our system of law. It is well to emphasize this wholesome idea as we
        contemplate the mounting waves of crime.

 Catrino v. United States, 176 F.2d 884, 887 (9th Cir. 1949); Anderson v. United States, 215 F.2d

 84, 88 (6th Cir. 1954). The conduct in question would also fall under the federal bribery statute.

 18 U.S.C §208. “In order to put the underlying policy of the [federal bribery] statute into effect,

 the term “thing of value” must be broadly construed. Accordingly, the focus of the above term is

 to be placed on the value which the defendant subjectively attaches to the items received.”

 United States v. Gorman, 807 F.2d 1299, 1304–05 (6th Cir. 1986).

        After the Fourth Circuit denied the prohibition of the transfer to the Middle District of

 Florida, I sought to reopen this case on January 17, 2017. Judge Moody gave me a very difficult

 time in reopening the case but eventually reopened it. On June 5, 2017, the Tampa Bay Times

 reported,


        Her father, U.S. District Judge James S. Moody Jr., said she had told the family a
        few months ago that she was considering running for attorney general. "The closer
        she got to making the decision, the more it felt right," he said. "I call her the
        Energizer Bunny. If anybody can do it, she can."

        See Ex. 2; http://www.tampabay.com/news/politics/elections/ahead-of-attorney-general-

 run-former-hillsborough-judge-ashley-moody-draws/2326230.          One of many ethical judicial

 canons Judge Moody has violated is publicly endorsing politicians, which supports Witness A’s

 statement about how bad he wants his daughter to win. Of course, Judge Moody refuses to allow

 me to bring any claims of Bondi and Ober’s wrong doing and in his July 17 order dismissing the

 claims refers to those details of the “high ranking” as “nothing more than speculation and legal

 conclusions” but assigned fault only to Parks for failing to warn me about the rapes. [ECF107]


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 Because Bondi is providing Judge Moody’s daughter with the support (financial donors and man

 power) she needs to win the Attorney General position, Judge Moody is expected not to “go

 against” the “witch” (Bondi), as Witness A phrases it. Ashley Moody’s first fundraiser hosted by

 Pam Bondi on June 29, 2017 raised plenty of money and Judge Moody knows because he attended

 the fundraiser. See www.electashleymoody.com. It’s injustice on top of injustice.


                                Third Filed Case in the District of Nevada.


         One of the rapist filed suit against myself, Jane Doe, and the Las Vegas Review Journal,

 the local news media for writing about this story in the District of Nevada. We had our Rule 26

 conference on May 17, 2017, and a discovery plan was filed shortly after. Discovery has been

 stayed pending the outcome of the pending motion to dismiss. The rapist indicated he plans to use

 the corrupted police investigation and altered evidence to his advantage to prove the drug rapes of

 myself and Jane Doe did not occur. The District Court dismissed this action on September 19,

 2017.

                                        Dismissal of the present case.


         Under Rule 41(a), plaintiff may dismiss action with leave of Court, if the opposing party

 serves an answer. Although Judge’s Moody’s rulings were biased, corrupted, and in need of

 appellate review, Parks filed an answer to the remaining claims. With an answer being filed, leave

 of Court is necessary for plaintiff to dismiss the case.


         I argued before the District Judge in Maryland and the Fourth Circuit Court of Appeals that

 transferring this case would interfere with my ability to have a fair and impartial shot at justice and

 specifically argued concerns with finding a fair Judge. However, the panel on the Fourth Circuit

 misrepresented their conflicts in this case as well. Judge James Wynn, a member of the panel of


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 the Fourth Circuit, who heard my case, is a long time active member of the National Bar

 Association. I thought perhaps I should hang in there because I might just get lucky to get an

 honest Judge in the Middle District of Florida, who will be fair. So, I decided to continue with the

 case and add all the tortfeasors, identified in my complaint, as defendants. I realized I was being

 set up when I saw Judge James Wynn’s name on the fourth circuit order denying my request to

 keep the case in Maryland but I tried to remain hopeful. Judge Wynn could have easily influenced

 Judge Allyson Duncan, an African American, also on the Fourth Circuit panel, because they have

 known each for many years prior to their seat on the Fourth Circuit. Judge Wynn’s bias cast doubt

 over the impartiality of the Fourth Circuit panel. After Judge Moody recused himself, however,

 the case was assigned to Judge Honeywell, who quickly admitted that she was an active member

 of the National Bar Association and she recused herself. An active member of the NBA expressed

 his interest in representing me fight Parks, Crump, Bondi, and Ober, if I drop my claims against

 the NBA. Judge James Wynn was not truthful about his active participation in the NBA and given

 the facts of this case, he should not have touched this case because there is a distinct pattern of the

 defendants bribing or corruptly influencing public officials to obstruct justice to protect the

 reputation of the National Bar Association. By any unlawful means necessary, Parks, Crump,

 counsel of record, Keith Betner Long and J Wyndal Gordon will protect the National Bar

 Association. I have been fighting for justice for years, and we are going in circles in this case.

 The Defendants are repeating the same criminal conduct to cover up the crimes committed by

 members of the National Bar Association.


        Every lawyer would question whether the Judge assignments to Judge Moody, in this

 Court, and Judge Wynn in the Fourth Circuit, were random. It seems like a well-planned

 conspiracy to obstruct justice.


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        Second, the appropriate forum to clean up the mess and restore the integrity of this

 proceeding would be the Eleventh Circuit, provided that we don’t have the same problems with

 conflicts on the panel as they did in the Fourth Circuit as well.


        One of the fundamental rights of a litigant under our judicial system is that he is
        entitled to a fair trial in a fair tribunal, and that fairness requires an absence of actual
        bias or prejudice in the trial of the case. In re Murchison, 349 U.S. 133, 136, 75
        S.Ct. 623, 99 L.Ed. 942; Talbert v. Muskegon Construction Co., 305 Mich. 345,
        348, 9 N.W.2d 572. If this basic principle is violated, the judgment must be
        reversed. In re Murchison, supra; Berger v. United States, 255 U.S. 22, 41 S.Ct.
        230, 65 L.Ed. 481; Moskun v. United States, 6 Cir., 143 F.2d 129, 130; N.L.R.B.
        v. Phelps, 5 Cir., 136 F.2d 562.

 Knapp v. Kinsey, 232 F.2d 458, 465 (6th Cir. 1956).

        In Ligon v. City of New York, the District Judge told a lawyer, who was also her friend, to

 file a case and mark it related to another case she presided over so that the new case would come

 to her. The District Judge made several statements to the press and the New York law Journal

 concerning the subject matter of the case: “Judge Scheindlin describes herself as a jurist who is

 skeptical of law enforcement, in contrast to certain of her colleagues, whom she characterizes as

 inclined to favor the government.” Ligon v. City of New York, 736 F.3d 118, 127 (2d Cir. 2013),

 vacated in part, 743 F.3d 362 (2d Cir. 2014). The District Judge disposed of the case with an

 injunction against law enforcement. The Second Circuit stayed the Court’s order of injunctive

 relief against law enforcement until appellate review and reassigned case for further proceeding

 because stated in


        But as Justice Black, writing for the unanimous Supreme Court, recognized more
        than seventy years ago, “[t]here may always be exceptional cases or particular
        circumstances which will prompt a reviewing or appellate court, where injustice
        might otherwise result, to consider questions of law which were neither pressed nor
        passed upon by the court ... below.”…Given the importance of maintaining the
        judiciary's appearance of impartiality, we think that it is well within our discretion
        to order reassignment in these cases.


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 Ligon v. City of New York, 736 F.3d 118, 129 (2d Cir. 2013), vacated in part, 743 F.3d 362 (2d

 Cir. 2014). The District Judge in Ligon ultimately resigned following her alleged ethical breach

 although there were no details publicly disclosed as to why the Judge resigned. The District Court

 did make sweeping changes to the policy of case assignments to restore the integrity in the process.

 Unlike the District Judge in Ligon, Judge Moody’s conduct was evil.

        Once the Court sacrifices integrity, it is critical to restore the public’s trust in the judiciary.

 For e.g., at the impeachment hearing of former federal District Court Judge Thomas Porteus, he

 testified the gifts given to his son and himself from the lawyers whom had a case pending before

 him did not influence his decision to rule in their favor but Congress did not find his testimony

 persuasive. Article I of Impeachment Against Thomas Porteus: “By virtue of this corrupt

 relationship and his conduct as a Federal judge, Judge Porteous brought his court into scandal

 and disrepute, prejudiced public respect for, and confidence in, the Federal judiciary, and

 demonstrated that he is unfit for the office of Federal judge.” Therefore, I have and most lawyers

 would have a reasonable fear of proceeding in the Middle District of Florida with this case.

 Moreover, I have been fighting for justice for 5 years, and the defendants and potential defendants

 are repeating the same pattern of obstruction of justice, so I fear and know what expect from them.


        I am being boxed into a terrible situation that no litigant and crime/rape victim should have

 to go through. I am emotionally exhausted, and I do not have the resources to fight every corrupt

 maneuver of the Defendants to obstruct justice. I am suing a bar association, where members,

 board members, and officers engage in criminal behavior at their conferences and for the benefit

 of the organization unlawfully cover it up. The Defendants are bribing prosecutors and Judges to

 help them cover this case up because they think my pursuit for justice after being drugged and

 raped at an NBA conference is “bringing down” the national bar association. It’s not fair for me


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  to have to investigate the Judges to uncover the Defendant’s next corrupt scheme to obstruct

  justice.


             In light of Judge Moody’s and Judge Wynn’s conduct, I don’t feel comfortable nor do I

  want to2, proceed with this case as is in the Middle District of Florida. The investigation of Judge

  Moody should be criminal, which is not a matter for the Chief Judge of the Eleventh Circuit to

  address. I am confident that a thorough investigation of Judge Moody will reveal that Congress

  made a colossal mistake in confirming his nomination. If the DOJ had indicted Pam Bondi, Judge

  Moody would have corruptly covered for her because all it takes in quid pro quo. Judge Moody

  is a threat to justice to everywhere and his misconduct did not begin with my case. The current

  State’s Attorney Andrew Warren has publicly spoken out about justice failing under former State

  Attorney Mark Ober ‘s office, who covered up my case, because of a good old boy network of

  connected lawyers. The Defendants’ constant attempts to obstruct justice in this case is just too

  painful bear and will not stop. I can’t emotionally deal with or continue with a case pending before

  the courts that is a cover up on top of cover up with no accountability for the evil actions of all

  those involved.


                                                Respectfully Submitted,


                                                   s/April Ademiluyi_______________
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   In this Court’s mediation order, the Court was wondering why my counsel did not withdraw. My
  lawyer died a very painful, sudden, and suspicious death so she cannot assist any further.
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                                  CERTIFICATE OF SERVICE

         I, April Ademiluyi hereby certifies, on September 19, 2017, that a copy of the foregoing

  will be served on all attorneys of record in interest via CM ECF.




                                                  s/April Ademiluyi_______________
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